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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


MARGARET JOSEPHINE DEVLIN-WEINHEIMER,		 	 Appellant,


v.


EDMUND A. WEINHEIMER, JR.,		        	 	  	           Appellee.

                                                                                                                                      
					

On appeal from the 329th District Court 

of Wharton County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Rodriguez and Garza

 Memorandum Opinion by Chief Justice Valdez

	

	Appellant, Margaret Josephine Devlin-Weinheimer, appeals from the trial court's
decree declaring her marriage to appellee, Edmund A. Weinheimer Jr., void.  By four
issues, Margaret asserts that the evidence is insufficient to support the trial court's order
and that the trial court erred by erroneously charging the jury and failing to grant her
judgment notwithstanding the verdict or her motion for new trial.  We affirm.

I. Background

	On October 13, 2005, Edmund filed his original petition for divorce.  Margaret timely
filed her original answer asserting the affirmative defense of reimbursement; several
discovery battles and withdrawals by counsel followed.  On March 5, 2007, the Honorable
Daniel Richard Sklar, presiding judge of the 329th Judicial District Court of Wharton
County, Texas, entered a temporary order striking Margaret's affirmative pleadings for
discovery abuse.  Judge Sklar retired on April 30, 2007, but on May 1, 2007, he was
assigned to the present case.  Margaret petitioned this Court for a writ of mandamus.  See
In re Weinheimer, No. 13-07-287-CV, 2007 WL 2128919, at *1 (Tex. App.-Corpus Christi
July 26, 2007, orig. proceeding) (mem. op.).  On June 13, 2007, we abated the case to
permit Judge Neil Caldwell, as successor judge, to reconsider Judge Sklar's prior orders. 
See id.  On July 3, 2007, Judge Caldwell affirmed the order striking Margaret's affirmative
pleadings.  

	On May 5, 2008, Edmund filed his third amended petition requesting that the court
declare his marriage to Margaret void on the ground that Margaret had a prior and
unterminated common law marriage to Edward Richter.  Edmund's petition asserted that
Margaret and Richter entered into a common law marriage on or about April 14, 1983, and
that the marriage had not been "dissolved by divorce or annulment or . . . death."  On June
11, 2008, a jury trial was held to determine whether the marriage between Edmund and
Margaret was void or could otherwise be dissolved.  

A.	Edmund's Evidence

	1. Richter's Testimony

	Richter testified, via videotaped deposition, that, after meeting through a business
connection, he and Margaret began a relationship.  By April 14, 1983, Margaret and
Richter  lived together in San Antonio and held themselves out as husband and wife.  They
filed joint tax returns in 1983 and 1984 and listed Margaret's daughters, who were living
with them at the time, as dependents.  Richter stated that he and Margaret had joint credit
cards and that Margaret told him that they were "common-law married."  While living
together, Richter and Margaret purchased a "family membership" at Fair Oaks Country
Club and a house.  Richter testified that the documents involved in the purchase of the
house refer to he and Margaret as "Edward C. and wife, Margaret J. Richter."  On
September 28, 1984, Margaret and Richter deeded their San Antonio home to Millard
Smyth.  Approximately one year later, on September 16, 1985, Margaret presented Richter
with a "separation agreement" when he "ran out of money, and she kicked [him] out."  The
agreement stated, "[t]his agreement is being prepared in contemplation of a divorce
proceeding."  Richter testified that the last time he saw Margaret was the day she
presented him with the separation agreement.  In 1992, Richter filed a petition for divorce
and Margaret subsequently filed an answer; however, on August 4, 1994, the divorce
proceeding was dismissed for want of prosecution.

	During his testimony, Richter was presented with an affidavit signed by Margaret
sometime around April 2007.  In the affidavit, Margaret states that she "was never
personally associated with Mr. Edward Richter," but that Richter had "a relationship with
my mother, Margaret J. Finley."  Richter denied ever having a relationship with Margaret's
mother, noting that he associated with Margaret's mother "only when she would visit us at
Christmas."  The affidavit also stated that Richter was a "conman" who had "abandoned"
his children and engaged in "identity theft."  Margaret's affidavit also alleged that Richter
"seduced" her minor daughter.  Richter denied these allegations.

	2. Edmund's Testimony

	Edmund testified that he met Margaret in April 1996, began dating her in May 1996,
and that they started living together in late 1997.  After they began living together, Edmund
met Margaret's adult daughter Jacquelynne; until that time, Edmund was unaware that
Margaret had any children.  After meeting Jacquelynne, Edmund questioned Margaret
about her previous relationships.  Edmund testified that in 2000, Margaret told him that she
had been married to, and subsequently divorced, William Standley, Robert Devlin, Lewis
Milberger, and Edward Richter.  In August 2002, Edmund signed a declaration of informal
marriage stating that he and Margaret married in October 1996.  Edmund filed a petition
for divorce in September 2005.  In 2006, Edmund discovered that a divorce petition had
been filed between Richter and Margaret, but Edmund was not able to locate a divorce
decree.  Edmund testified that to his knowledge Richter's marriage to Margaret was never
terminated.

B.	Margaret's Evidence

	1. Lewis Millard Smyth, III's Testimony

	Smyth testified that he met Margaret in New York City in the late 1960s.  In the
1970s he and Margaret had a business and social relationship.  Smyth stated that,
although he had been married to Barbara Smyth since 1959, he and Margaret began living
together in 1981 and lived together until around sometime in the mid-nineties. (1)  Smyth
testified that he and Barbara formally divorced in 1992.  Margaret introduced Smyth and
Edmund in 1996 or 1997, and they became business partners.  On cross-examination,
Smyth testified that he does not currently reside with Margaret, but that in the past twelve
months he has given her approximately one hundred fifty to one hundred sixty thousand
dollars.

	2. Margaret's Testimony

	Margaret testified that she never intended to be married to Richter, never held
herself out as being married to Richter, and had not spoken to Richter since September
16, 1985.

C.	Jury Verdict

	After hearing the above testimony, the jury returned a verdict finding the marriage
between Edmund and Margaret void.  The trial court accepted the jury's verdict and
rendered a "Decree Declaring Marriage Void."  The trial court subsequently denied
Margaret's motion for judgment notwithstanding the verdict as well as her motion for new
trial.  This appeal ensued.

II. Application of Section 1.91(b)

	Margaret and Edmund disagree over which section of the Texas Family Code is
applicable to the current case.  Margaret asserts that the one-year statute of limitations
required under the 1989 amendment to former section 1.91(b) of the Texas Family Code
governs this case; Edmund contends that the two year rebuttable presumption found in
section 2.401(b) of the current Texas Family Code governs.  See Act of May 29, 1989, 71st
Leg., R.S., ch 370, § 9, 1989 Tex. Gen. Laws 1458, 1461 (creating a one-year statute of
limitation following the end of the parties' relationship to prove the existence of an informal
marriage), amended by Act of May 24, 1995, 74th Leg., R.S., ch. 891, § 1, 1995 Tex. Gen.
Laws 4404, 4404, repealed by Act of May 26, 1997, 75th Leg., R.S., ch. 7, § 3, 1997 Tex.
Gen. Laws 8, 43 (2); Tex. Fam. Code Ann. § 2.401(b) (Vernon 2006) (creating a rebuttable
presumption that no agreement to marry exists if a proceeding to prove the existence of
an informal marriage is not commenced within two years after the couple ceases living
together).

A.	Development of Texas Law Regarding Informal Marriages

	When Margaret and Richter allegedly entered into an informal marriage, (3) former
section 1.91(b) of the Texas Family Code provided that an informal marriage could be
"inferred if it [was] proved that [the couple] lived together as husband and wife and
represented to others that they were married."  Act of May 31, 1969, 61st Leg., R.S., ch.
888, § 1.91, 1969 Tex. Gen. Laws 2707, 2717, amended by Act of May 29, 1989, 71st
Leg., R.S., ch. 370, § 9, 1989 Tex. Gen. Laws 1458, 1461.  This section remained in effect
when Margaret and Richter's relationship allegedly ended in 1985.  However, in 1989
former section 1.91(b) was amended to state as follows:  "A proceeding in which a
marriage is to be proved under this section must be commenced not later than one year
after the date on which the relationship ended or not later than one year after September
1, 1989, whichever is later."  Act of May 29, 1989, 71st Leg., R.S., ch 370, § 9, 1989 Tex.
Gen. Laws 1458, 1461 (amended 1995, repealed 1997).  This provision "created a one-year statute of limitations on suits to prove the existence of an informal marriage."  Wilson
v. Estate of Williams, 99 S.W.3d 640, 644 (Tex. App.-Waco 2003, no pet.); see In re
Collins, 870 S.W.2d 682, 684 (Tex. App.-Amarillo 1994, writ denied) (concluding that
former section 1.91(b) is a statute of limitations rather than a jurisdictional requirement).

	In 1995, former section 1.91(b) of the family code was amended to abolish the
statute of limitations requirement.  Act of May 24, 1995, 74th Leg., R.S., ch. 891, § 1, 1995
Tex. Gen. Laws 4404, 4404 (repealed 1997).  This provision creates a rebuttable
presumption that the parties did not enter into an agreement to be married if a proceeding
to prove the informal marriage is not commenced before the second anniversary of the
date on which the parties separated and ceased living together.  See Tex. Fam. Code Ann.
§ 2.401(b). (4)  The 1995 amendment also provided:

The change in law made by this Act to Section 1.91, Family Code, does not
permit an action to be commenced on or after the effective date of this Act
to prove the existence of an informal marriage for which an action was
barred before the effective date of this Act for failure to bring the action
before the first anniversary of the date the relationship ended.


Act of May 24, 1995, 74th Leg., R.S., ch. 891, § 2, 1995 Tex. Gen. Laws 4404, 4404
(repealed 1997).  As noted, section former section 1.91 was repealed in 1997.  Id.  The
current version of the family code provides:

If a proceeding in which a marriage is to be proved as provided by
Subsection (a)(2) is not commenced before the second anniversary of the
date on which the parties separated and ceased living together, it is
rebuttably presumed that the parties did not enter into an agreement to be
married.


Tex. Fam. Code Ann. § 2.401(b).

	Margaret argues that "under [former section] 1.91(b) no common law marriage exists
where the parties agreed to be married, cohabitated as man and wife, and hold [sic]
themselves out as man and wife if no efforts are made to prove the informal marriage
within one year after the relationship ceased to exist."  Edmund argues that former section
1.91(b) is a repealed provision of the family code and does not apply to this case.  

	Our sister courts are split on whether former section 1.91(b)'s one-year statute of
limitation applies in proceedings commenced on or after September 1, 1995.  See Wilson,
99 S.W.3d at 644 (concluding that the trial court properly applied the rebuttable
presumption of section 2.401(b) instead of former section 1.91(b)'s statute of limitations
where a proceeding in which an alleged informal marriage was to be proved commenced
in January 2001, even though the relationship upon which the informal marriage was
premised had ended in 1994); but see Lavely v. Heafner, 976 S.W.2d 896, 898-99 (Tex.
App.-Houston [14th Dist.] 1998, no pet.) (vacating trial court's declaratory judgment that
an informal marriage never existed where a proceeding to establish the existence of the
informal marriage was not filed until March 1996, outside of former section 1.91(b)'s one-year statute of limitations); see also Lopez v. Trevino, No. 04-03-00352-CV, 2004 WL
1054733, at **1-2 (Tex. App.-San Antonio May 12, 2004, no pet.) (mem. op.) (holding that
appellant was barred by former section 1.91(b)'s one-year statute of limitations from
proving that appellee was appellant's mother's common law husband).

	For reasons discussed below, we need not address the issue of whether former
section 1.91(b)'s one-year statute of limitation applies in proceedings commenced on or
after September 1, 1995.  

B.	Statute of Limitations

	Edmund argues that, even assuming former section 1.91(b) applies to the present
case, Margaret has waived her right to rely upon it.  We agree.  Margaret asserts that
Edmund's waiver argument "misses the point" because he has the burden to prove that his
marriage to her is void.  Margaret argues that by failing to offer proof that someone
commenced a proceeding before September 1, 1990 in which an informal marriage
between Margaret and Richter was to be proven, Edmund failed to meet his burden. 
Although Margaret does not argue that Edmund should have brought the present action
within one year after the enactment of the 1989 amendment to former section 1.91(b), her
argument nonetheless uses a statute of limitations defense to thwart Edmund's attempt
to prove his marriage void.  

	Assuming without deciding that the application of former section 1.91(b) is
appropriate, we conclude that because Margaret failed to plead the affirmative defense of
limitations, she  has waived any right to rely on former section 1.91(b).  See In re Collins,
870 S.W.2d at 684-85 (concluding that former section 1.91(b)'s one-year statute of
limitations is an affirmative defense to a claim that an informal marriage existed). 
Limitations is an affirmative defense that, in the absence of trial by consent, is waived if not
pleaded.  Tuttlebee v. Tuttlebee, 702 S.W.2d 253, 256 (Tex. App.-Corpus Christi 1985,
no writ); see Tex. R. Civ. P. 94 (listing statute of limitations as an affirmative defense a
party "shall set forth affirmatively").  Margaret concedes that she did not plead statute of
limitations as an affirmative defense and that she was "prohibited from presenting any
affirmative defenses at trial" as a result of sanctions by the court. (5)  Because Margaret first
raised the issue of limitations at the hearing on her motion for new trial, she failed to timely
raise the defense.  See Hollingsworth v. Hollingsworth, 274 S.W.3d 811, 815 (Tex.
App.-Dallas 2008, no pet.) (citing Wynn v. Wynn, 587 S.W.2d 790, 792 (Tex. Civ.
App.-Corpus Christi 1979, no writ)).

	Because we conclude that Margaret failed to plead the affirmative defense of
limitations, we need not address whether former section 1.91(b) or section 2.41(b) is
applicable.  Because all of Margaret's issues on appeal are premised on former section
1.91(b), we overrule each to the extent that it relies on former section 1.91(b).  Margaret's
third issue--that the trial court erred by failing to grant her motion for a judgment
notwithstanding the verdict--and her fourth issue--that the trial court erred by failing to
grant her motion for new trial--are based entirely on the applicability of former section
1.91(b); accordingly, we overrule Margaret's third and fourth issues. 

	In her second issue, Margaret argues that the trial court erred by entering a decree
declaring Edmund's marriage to Margaret void because (1) the evidence is legally
insufficient to support the decree given that "there is no evidence to support a finding that
there was proof of a prior marriage within one year after the time the marital relationship
ceased to exist as required under Texas Family Code section 1.91(b)"; and (2) "[t]he
evidence was factually insufficient since there was no evidence offered to show the alleged
prior relationship between Margaret and Richter was 'proven' within one year after the date
it ceased to exist . . . ."  Because this issue relies solely on the applicability of former
section 1.91(b), Margaret's second issue is also overruled. 

III. Jury Charge

	In her first issue, Margaret contends that the court abused its discretion by failing
to submit her requested questions to the jury.

A.	Standard of Review and Applicable Law

	We review a jury charge under an abuse of discretion standard.  R &amp; R Contractors
v. Torres, 88 S.W.3d 685, 696 (Tex. App.-Corpus Christi 2002, no pet.) (citing In re V.L.K.,
24 S.W.3d 338, 341 (Tex. 2000)).  An abuse of discretion occurs when the trial judge acts
"without reference to any guiding principles."  DeLeon v. Pickens, 933 S.W.2d 286, 290
(Tex. App.-Corpus Christi 1996, writ denied) (citing Downer v. Aquamarine Operators, Inc.,
701 S.W.2d 238, 241 (Tex.1985)).  To preserve error regarding a court's failure to submit
a proposed jury instruction, the proposed instruction must have been tendered to the trial
court in substantially correct wording.  See Tex. R. Civ. P. 278; Placencio v. Allied Indus.
Int'l, 724 S.W.2d 20, 21 (Tex.1987).  "[S]ubstantially correct . . . does not mean that it must
be absolutely correct, nor does it mean one that is merely sufficient to call the matter to the
attention of the court will suffice.  It means one that in substance and in the main is
correct&nbsp;.&nbsp;.&nbsp;.&nbsp;."  Placencio, 724 S.W.2d at 21 (citing Modica v. Howard, 161 S.W.2d 1093,
1094 (Tex. Civ. App.-Beaumont 1942, no writ)).

B.	Analysis

	The jury was charged as follows:  "Is the marriage between Edmund A. Weinheimer
and Margaret Devlin-Weinheimer void?  Answer yes or no."  Section 6.202(a) of the family
code provides that "[a] marriage is void if entered into when either party has an existing
marriage to another person that has not been dissolved by legal action or terminated by
the death of the other spouse."  Tex. Fam. Code Ann. § 6.202(a) (Vernon 2006).  Margaret
argues that Edmund's burden to prove his marriage to Margaret void "is bifurcated into at
least two (2) distinct categories under [former section] 1.91(b)."  She describes the first
"category" as involving the issue of whether Margaret and Richter were informally married,
and the second "category" as involving the issue of whether a marriage was proven within
one year after Margaret and Richter's relationship ended.  Because we have already held
that Margaret waived her right to a limitations defense, former section 1.91(b)'s statute of
limitations was not in issue; therefore, the trial court did not abuse its discretion by refusing
to submit questions related to Margaret's proposed second category.  See Tex. R. Civ. P.
278.  Accordingly, we look only to the remaining questions proposed by Margaret as they
relate to the issue of informal marriage.  Margaret proposed the following questions:

Did Margaret D. Weinheimer and Edward C. Richter live together?


	. . . . 


Did Margaret D. Weinheimer and Edward C. Richter hold themselves out as
husband and wife?


	The Texas Family Code requires three elements that must be proven in order to find
an informal marriage--agreement, holding out, and cohabitation.  See Tex. Fam. Code
Ann. § 2.401(a)(2).  Margaret's proposed questions are incomplete because they omit the
agreement requirement.  See id.  By failing to include the agreement requirement,
Margaret left out an essential element of informal marriage and failed to tender the jury
instruction in substantially correct wording.  See Tex. Commerce Bank Reagan v. Lebco
Constructors, Inc., 865 S.W.2d 68, 76 (Tex. App.-Corpus Christi 1993, writ denied)
(holding that tender of an instruction that misstates the law is not in substantially correct
form), overruled on other grounds by Johnson &amp; Higgins of Tex., Inc. v. Kenneco Energy,
Inc., 962 S.W.2d 507, 530 (Tex. 1998); see also King v. Bank of N.Y., No. 13-07-069-CV,
2008 WL 2764523, at *6 (Tex. App.-Corpus Christi July 17, 2008, no pet.) (mem. op.)
(concluding that appellant's proposed instruction was substantively incorrect where
appellant failed to include an essential element).  Because Margaret failed to tender her
issue in substantially correct wording, she failed to preserve error.  See Lebco
Constructors, Inc., 865 S.W.2d at 76; see also King, 2008 WL 2764523, at *6.  Margaret's
first issue is overruled.   

IV. Conclusion

	Having overruled all of Margaret's issues, we affirm the trial court's judgment.

			

							                                         								ROGELIO VALDEZ

							Chief Justice

	


Delivered and filed

the 3rd day of December, 2009. 
1.  On cross-examination, Smyth testified that during the time of Margaret's alleged common-law
marriage to Richter, Smythe lived with Margaret during the week and with Barbara on the weekends. 
2.  The constitutionality of former section 1.91(b)'s one-year statute of limitations has been questioned. 
See White v. State Farm Mut. Auto Ins. Co., 907 F. Supp. 1012, 1017-19 (E.D. Tex. 1995) (concluding that
section 1.91(b) is unconstitutional as a violation of the equal protection clause); but see Dannelley v. Almond,
827 S.W.2d 582, 583-86 (Tex. App.-Houston [14th Dist.] 1992, no writ) (holding section 1.91(b) does not
violate either the open courts provision of the Texas Constitution or the Equal Protection Clause of the U.S.
and Texas Constitutions).  In the present case, neither party addresses the constitutionality of the one-year
statutory limitation period.  Because our disposition does not require us to determine the constitutionality of
former section 1.91(b), we do not address it.  See Tex. R. App. P. 47.1; see In re B.L.D., 113 S.W.3d 340, 349
(Tex. 2003) ("As a rule, we only decide constitutional questions when we cannot resolve issues on
nonconstitutional grounds."); Bradley v. State ex rel. White, 990 S.W.2d 245, 247 (Tex. 1999) (same).
3.  "Informal marriage" is the statutory term used to describe what is colloquially known as a common-law marriage.  See Tex. Fam. Code Ann. § 2.401 (Vernon 2006).  These terms will be used interchangeably
throughout this opinion. 
4.  The 1995 amendment provided:


If a proceeding in which a marriage is to be proved [as an informal marriage] is not
commenced before the second anniversary of the date on which the parties separated and
ceased living together, it is rebuttably presumed that the parties did not enter into an
agreement to be married.


Act of May 24, 1995, 74th Leg., R.S., ch. 891, § 1, 1995 Tex. Gen. Laws 4404, 4404 (repealed 1997).
5.  On appeal, Margaret does not contest the sanctions imposed by the trial court.


